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AO-106 (Rev: 06/09)-Application for Search Warrant

UNITED STATES DISTRICT COURT

for the M
U.

io. ark C. McCartt, Clerk
Northern District of Oklahoma

S. DISTRICT COURT
In the Matter of the Search of
Usernames ‘Brokenbnwowhiteboi,’ ‘Ohboyyyyy21,’ and Case No. Aa (> QUOD
‘Knockershop’ That are Stored at a Premises Controlled
by MediaLab.ai, Inc..

SS

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that 1 have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment “A.” This court has authority to issue this warrant under 18 U.S.C. §§ 2703(a),
2703(b)(1)(A) and 2703(c)(1)(A).
located in the _Central_ District of _California_, there is now concealed (identify the person or describe the property to be
seized):

See Attachment “B”

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
M evidence of a crime;
M contraband, fruits of crime, or other items illegally possessed;
M property designed for use, intended for use, or used in committing a crime;
QO a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 2252 Certain Activities Relating to Material Involving the Sexual Exploitation of
Children

The application is based on these facts:
See Affidavit of SA Dustin Carder, HSI, attached hereto.

M Continued on the attached sheet.

O) Delayed notice of _— days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

[4

Applicant's signature

Special Agent Dustin Carder, HSI

Printed name and title

Subscribed and sworn to by phone. Ge a 9

Date: _ 3/21/2024

Judge ’s signature

City and state: Tulsa, Oklahoma Jodi F. Jayne, U.S. Magistrate Judge

Printed name and title
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

In the Matter of the Search of
Information Associated with Kik
Usernames ‘Brokenbnwowhiteboi,’
‘Ohboyyyyy21,’ and ‘Knockershop’
That are Stored at a Premises
Controlled by MediaLab.ai, Inc.

Case No.

Affidavit in Support of an Application for a Search Warrant

I, Dustin Carder, being duly sworn, depose and state:

Introduction and Agent Background

1. I make this affidavit in support of an application for a search warrant for
information associated with Kik usernames ‘Brokenbnwowhiteboi,’ ‘Ohboyyyyy21,’
and ‘Knockershop’ that are stored at premises owned, maintained, controlled, or
operated by MediaLab.ai, Inc., a holding company of consumer internet brands,
offering messaging applications, online education platform, and various applications
for users headquartered in Santa Monica, California. The information to be searched
is described in the following paragraphs and in Attachment A. This affidavit is made
in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),
2703(b)(1)(A) and 2703(c)(1)(A) to require MediaLab.ai, Inc. to disclose to the

government records and other information in its possession, pertaining to the
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individuals associated with Kik usernames ‘Brokenbnwowhiteboi,’ ‘Ohboyyyyy21,’
and ‘Knockershop’ (hereinafter the “SUBJECT ACCOUNTS”).

2. I have been employed as a Special Agent ("SA") with Homeland Security
Investigations ("HSI") since December 2018. I am currently assigned to the Office of
the Resident Agent in Charge in Tulsa, Oklahoma, and am currently assigned to
investigate crimes involving child exploitation. While employed by HSI, I have
investigated federal criminal violations related to child exploitation and child
pornography. I have gained experience through training at the Federal Law
Enforcement Training Center's (“FLETC”) twelve-week Criminal Investigator
Training Program (“CITP”) and the sixteen-week Homeland Security Investigations
Special Agent Training (“HSISAT”) program, and everyday work relating to
conducting these types of investigations. I have received training in the area of child
pornography and child exploitation and have observed and reviewed numerous
examples of child pornography (as defined in 18 U.S.C. § 2256) in all forms of media,
including computer media. I have received focused child exploitation training covering
topics such as: interview techniques, live streaming investigations, undercover
investigations, capturing digital evidence, transnational child sex offenders, and
mobile messaging platforms utilized by these types of offenders. Moreover, I am a
federal law enforcement officer who is engaged in enforcing the criminal laws,
including 18 U.S.C. §§ 2251, 2252, and 2252(a).

3. As part of my duties as a HSI Special Agent, I investigate criminal violations

relating to child pornography, including the production, transportation, distribution,

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receipt, and possession of child pornography, and the coercion/enticement of minors
for sexual purposes, in violation of 18 U.S.C. §§ 2251, 2252, 2252A, and 2422. I have
been involved in several child pornography investigations and am familiar with the
tactics used by individuals who coerce and entice minors, and collect and distribute
child pornographic material.

4, The facts set forth in this affidavit are based on my personal observations and
information provided to me by other law enforcement officers and individuals.
Because I submit this affidavit for the limited purpose of showing probable cause, |
have not included each fact that I have learned in this investigation. Rather, I have set
forth only facts sufficient to establish probable cause to issue the requested warrant and
I have not set forth all of my knowledge about this matter. Additionally, unless
indicated otherwise, all statements and conversations described herein are related in
substance and in part only, rather than verbatim.

5. Based on my training and experience and the facts as set forth in this affidavit,
there is probable cause to believe that violations of Title 18, United States Code,
Section 2252 (Certain Activities Relating to Material Involving the Sexual
Exploitation of Children) have been committed by the individuals associated with the
SUBJECT ACCOUNTS. There is also probable cause to search the information
described in Attachment A for evidence of this crime and contraband or fruits of this

crime as described in Attachment B.
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Jurisdiction
6. This Court has jurisdiction to issue the requested warrant because it is “a court
of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),
(b)(1)(A), & (c)(1)(A). Specifically, the Court is “a district court of the United States .

.. that has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

Background of NCMEC and the CyberTipline Program

7. The National Center for Missing & Exploited Children (NCMEC) was
incorporated in 1984 by child advocates as a private, non-profit 501(c)(3)
organization to serve as a national clearinghouse and resource center for families,
victims, private organizations, law enforcement, and the public on missing and
sexually exploited child issues. To further the mission to help find missing children,
reduce child sexual exploitation, and prevent future victimization, NCMEC operates
the CyberTipline and Child Victim Identification Program. NCMEC makes
information submitted to the CyberTipline and Child Victim Identification Program
available to law enforcement and also uses this information to help identify trends
and create child safety and prevention messages. As a clearinghouse, NCMEC also
works with Electronic Service Providers (ESPs), law enforcement and the public in a
combined effort to reduce online child sexual abuse images. NCMEC performs its
programs of work pursuant to its own private mission and independent business

operations. NCMEC does not act in the capacity of or under the direction or control
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of the government or law enforcement agencies. NCMEC does not investigate and

cannot verify the accuracy of the information submitted by reporting parties.

8. NCMEC’s CyberTipline is the nation’s centralized reporting system for the
online exploitation of children. The public and ESPs can make reports of suspected
online enticement of children for sexual acts, child sexual molestation, child sex
abuse material, child sex tourism, child sex trafficking, unsolicited obscene materials
sent to a child, misleading domain names, and misleading words or digital images on
the internet. CyberTipline Reports (CyberTips) are distributed by NCMEC analysts
to law enforcement agencies who may have legal jurisdiction in the place that victims
and suspects are believed to be located based on information provided in the

CyberTips..

Probable Cause
9. In October 2023, HSI Tulsa received information from the Tulsa County
Sheriff's Office (“TCSO”) regarding Bryon Alan LEE, a U.S. citizen and previously
convicted sex offender. Multiple CyberTips from NCMEC had been generated

regarding Google account "bryonalee1992@gmail.com" from Imgur, LLC’,

'Imgur, LLC is an online content hosting site where users can view and share content such as images, GIFs,
memes, videos, and reviews. Users can communicate with other users by posting public comments or sending
private messages, GIFs, or emojis. Imgur is available on web browser and mobile application.
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Dropbox, Inc.*, and Discord? due to the uploading of numerous images of child
pornography to their platforms. These leads span between August 2019 and August
2023. LEE is an enrolled member of the Cherokee Nation tribe and resides in
Sapulpa, Oklahoma, within the territorial boundaries of the Muscogee Creek Nation,

in the Northern District of Oklahoma.

10. On October 30, 2023, TCSO Detective Matt Gray was assigned four (4)
CyberTips from NCMEC. The four CyberTips had email address
“bryonalee1992@gmail.com” in common and spanned from 2019 to 2023. After an
initial investigation, Gray determined that the suspect, Bryon LEE, was Native
American and resided outside of his jurisdiction in Sapulpa, Oklahoma. Gray then
sought my assistance in the investigation. The CyberTips will be detailed in the
following paragraphs.

CyberTip 65655420

11. CyberTip 65655420 was reported by Imgur, LLC on March 9, 2020. Imgur
reported that on August 7, 2019, a user with email address
“bryonalee1992@gmail.com” uploaded 108 images to their platform that were
flagged. Five IP addresses were associated with the uploads: two were Verizon

Wireless, two were Cox Communications, and one was AT&T Wireless. The two

* Dropbox is a file hosting service operated by the American company Dropbox, Inc., headquartered in San
Francisco, California, U.S. that offers cloud storage, file synchronization, personal cloud, and client software.

3 Discord is an instant messaging and VoIP social platform. Users have the ability to communicate with voice
calls, video calls, text messaging, media, and files in private chats or as part of communities called "servers."

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Cox Communications IP addresses geolocated to Edmond, Oklahoma. It was later

determined that LEE resided in Edmond, Oklahoma during this time.

12. | reviewed the images and observed them to consist of multiple prepubescent
female victims topless, with bare chest exposed; multiple computer-generated media
files depicting pornography; adult pornography; age-difficult females who are nude;
and clothed prepubescent female victims posed in a provocative manner and/or
wearing inappropriate clothing.

CyberTip 65654483

13. CyberTip 65654483 was reported by Imgur, LLC on March 9, 2020. Imgur
reported that on November 25, 2019, a user with email address
“bryonalee1992@gmail.com” uploaded 70 images to their platform that were
flagged. The IP address used was 68.97.86.119, which geolocated to Edmond,

Oklahoma, and was serviced by Cox Communications.

14. I viewed each image associated with the CyberTip. I observed many of the
same images that were flagged in the previous CyberTip, which depicted
prepubescent minor females posing in a provocative manner and/or wearing

inappropriate clothing.
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15.In April 2020, an Oklahoma State Bureau of Investigation (OSBI) analyst
searched TLO? for email address “bryonalee1992@gmail.com.” The email address
was found to be linked to Bryon LEE, date of birth XX/XX/1992, at an apartment
in Edmond, Oklahoma. Bryon LEE’s name is fully listed in the suspect email
address, as well as his birth year: 1992.

CyberTip 84142079

16. CyberTip 84142079 was reported by Dropbox on January 6, 2021. Dropbox
reported that on January 5, 2021, at 01:10:42, a user with email address
“bryonalee1992@gmail.com,” username “Bryon Lee,” with User ID number
3364911424, uploaded an image file to their platform that was flagged. The image
with filename “Photo Jul 26, 11 00 58 PM.png” and MD5 value
40367f16f63a443c01823e845f1266b5 was categorized as “Apparent Child
Pornography.” This image was publicly available and was also viewed by one or
more Dropbox employees. The image is described as a nude prepubescent white
female with no breast development and no pubic hair. The minor victim (MV)
appears to be under the age of 12. MV is bound by her hands and feet to a mirror
using suction cups connected to binding straps. MV’s vagina is visible in the image.
This image meets the federal definition of child pornography, as stated in Title 18,

United States Code, Section 2256.

* TransUnion’s TLO is an online investigative database utilized by law enforcement containing personal
information, including peoples’ physical addresses, phone numbers, email addresses, and the contact details of
possible relatives.

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CyberTip 170916680

17. CyberTip 170916680 was reported by Discord on August 16, 2023. Discord
reported that on August 16, 2023, at 00:58:32 UTC, username “dracusdemonica#0”
with User ID number 246423663790915585 uploaded one image to their platform
that was flagged. The image with filename “user23476379_f5a935dec2ec.jpg” with
MD5 value fba226d428a8a43f456b5f73399 1bd05 was viewed by one or more
Discord employees, was publicly available, and classified as “Apparent Child
Pornography.” The image is described as two minor female victims, one who is
clothed, and the other who appears to be nude. The nude victim has little breast
development. Both minor victims have their hands on the erect penis of an unknown
male. The image meets the federal definition of child pornography, as stated in Title

18, United States Code, Section 2256.

18. Discord also provided verified phone number (918) 982-5823, and verified
email address “bryonalee1992@gmail.com” that are associated with the account.
The IP address utilized by the account during the upload was 98.178.189.190, which

is serviced by Cox Communications and geolocates to Sapulpa, Oklahoma.

19. TCSO Detective Gray queried phone number (918) 982-5823 in Thomson

Reuters’ CLEAR?. Gray discovered the phone number was associated with Bryon

> CLEAR is a powerful research tool that assists law enforcement by combining billions of public records, to
locate individuals, identify assets, and find key connections.

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LEE at 710 West Teel Road in Sapulpa, Oklahoma. This falls within the Muscogee
Creek Nation in the Northern District of Oklahoma.

Previous Sex Offense Involving Bryon Lee

20. In conducting this investigation, I learned that LEE is a registered sex
offender for a 2020 Edmond Police Department case where LEE was convicted of
Using Technology to Engage in Sexual Communication with a Minor (Oklahoma
County CF-2021-1236). LEE received a 10-year suspended sentenced and was to be
under the supervision of the Department of Corrections. This case involved LEE
sending inappropriate and sexual communications and material via Facebook
Messenger to a sixteen-year-old employee, his subordinate, at Taco Bell where he

was the manager.

21.I learned that LEE is currently registered with the Muscogee Creek Nation
Lighthorse Police (MCNLP). On October 31, 2023, I contacted the MCNLP and
learned that his sex offender registration address is 710 West Teal Street, #24,
Sapulpa, Oklahoma 74066. MCNLP advised that he registers every six months, and
he last registered on July 18, 2023. MCNLP also had phone number (918) 982-5823
as his registered number, which is the same verified phone number connected to the

Discord account described herein.

22.On November 3, 2023, HSI Tulsa electronically served Verizon Wireless with
an administrative DHS summons for subscriber information for phone number (918)

982-5823 for a time frame of August 1, 2023, through the present.

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23.On November 13, 2023, Verizon responded to the summons and provided the
requested information. The number is registered to Bryon A. LEE with a contact
address of 710 W. Teel Road, Trailer 24, Sapulpa, OK 74066. The account has been
active since January 6, 2018. The email address associated with the Verizon account

is bryonalee1992@gmail.com.

24.On November 15, 2023, I obtained federal search and seizure warrants in the
Northern District of Oklahoma for the following: LEE’s residence — 710 West Teel
Road, Trailer 24, Sapulpa, OK 74066; LEE’s vehicle — a red 2015 Chevrolet Spark
with Oklahoma license plate CHN-562, VIN KL8CF6S91FC74; and LEE’s person.

The warrants were authorized by U.S. Magistrate Judge Jodi F. Jayne.

25.On November 16, 2023, at approximately 0755 hours, HSI special agents, task
force officers, the Sapulpa Police Department, and the Muscogee Creek Nation
Lighthorse Police served the search warrants at LEE’s residence. Detective Matt
Gray and I attempted to interview LEE in my vehicle. I showed LEE the search
warrants, and explained what they were for. I advised LEE that he was not under
arrest, but wanted to let him know what his rights were. LEE stated he did not want
to speak without an attorney present. I then terminated the interview. As a result of
the search warrants, multiple electronic devices, including LEE’s cell phone, were

seized at the scene, and later forensically examined.

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Review of Dell Inspiron N5050 Laptop

26. I reviewed the data on a Dell Inspiron N5050 laptop computer (S/N:
823KJR1) seized during the search warrant. The owner of the device is listed as
“Bryon,” and the displayed computer name is “Bryon-PC.” I located 26 files of child
pornography on the device. Three are videos, and the remaining are images. There
are five unique images of child pornography on the laptop; the remaining 18 are

duplicates of those images.

27.One of the videos is twelve seconds long and depicts a prepubescent female
victim in an outdoor setting. The victim’s chest is exposed, and she has no visible
breast development. There is a male masturbating with his penis positioned close to
the victim’s face. The male then ejaculates onto/into the face, hair, and mouth of the

victim.

28. Another one of the videos is seven seconds long and depicts a prepubescent
female victim wearing a purple shirt with a fairy or similar character on it. The
female appears to be in the seated position. There is a male standing near the female
with his penis exposed. The male appears to try and insert his penis into the victim’s
vagina. He then rubs his penis against her vagina. The victim is small in stature and

had no visible pubic hair or development.

29. The remaining images and video depict prepubescent minor victims whose

vaginas are displayed or are engaged in a sexual act.
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Review of Samsung $21 FE Phone

30. I reviewed a Samsung $21 FE phone, IMEI: 350799511581772 seized during
the search warrant. The Bluetooth name of this device is “Bryon’s $21 FE.” Multiple
Chrome Autofill fields were also discovered for the name Bryon LEE, email address
“bryonalee1992@gmail.com,” and “DracusDemonica.” I also located the usernames
of “Oldddy4little,” and “P3rvddy.” I understand the first to mean that an older
person is interested in a younger person, and the second is a short-hand form of
“Perv” or “Pervert daddy.” I was not able to determine which websites or programs

the usernames were related to.

31. Based on images located, it also appears that LEE took pictures of his six-year-
old daughter’s buttocks and pubic/groin region while she slept. The victim is
wearing underwear in both images. The time stamp associated with the files is
September 15, 2023, at 3:20 AM. The victim’s face was not shown in either image.
In both images, the victim is laying on a black sheet with repetitive diamond or
flower-shaped designs on it. Another image located shows LEE’s daughter, fully

clothed, with her face shown, standing next to the bed with the same sheet on it.

32. LEE’s daughter, M.L. was later forensically interviewed and disclosed that
LEE took pictures of her body, and videos of her butt when she had no clothes on.
M.L. was given an outline of a body on a child so she could show what she meant by

“butt;” M.L. circled the buttocks of the female child on the provided image.

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33.1 also located 41 files of child pornography on the device, with 28 of those
being visually unique. Four of the files are videos, while the remaining are images.
Two of the videos depict minor female victims who undress and display their vaginas
on camera. One of the videos depicts a young female who takes off her clothing and
masturbates on camera. Her vagina is visible. She has slight budding of the breasts.
The remaining video depicts a school-aged adolescent female performing oral sex on
an adolescent male while another adolescent male is engaging is vaginal or anal sex
with her from behind. Most of the images depicts toddler-aged to approximately
twelve-year-old female victims whose vaginas are displayed and/or are engaged in a

sexual activity.

34.1 located a partial Snapchat conversation between usernames
“whiteboi2027512,” and “randoma237722” while reviewing data on LEE’s Samsung
S21 phone. During this chat, an image of an 11-year-old female is shared, and the

pair discuss the female in a sexually explicit manner. The below chat was located on

LEE’s phone.
Sender Recipient(s) | Message Type Message
Date/Time -
Central Time
randoma237 | whiteboi202 | Ye Text 9/18/2023
722 7512 8:42:39 PM
whiteboi202 | randoma237 | I'd love to see Text 9/18/2023
1512 722 her tiktok 8:44:28 PM
whiteboi202 | randoma237 | Hey Text 9/18/2023
7512 722 8:39:45 PM
randoma237 | whiteboi202 | Hi Text 9/18/2023
722 7512 8:39:49 PM

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whitebo1202 | randoma237 | Let's see her Text 9/18/2023
7512 722 8:40:06 PM
randoma237 | whiteboi202 | She's 11 Text 9/18/2023
722 7512 8:40:14 PM
whiteboi202 | randoma237 | Ok Text 9/18/2023
7512 722 8:40:32 PM
randoma237 | whiteboi202 | U wanna see Text 9/18/2023
722 7512 8:40:52 PM
randoma237 | whiteboi202 Call/Deleted 9/18/2023
ban 7512 message/Mini/ | 8:40:57 PM
Game
whiteboi202 | randoma237 | Yes Text 9/18/2023
7512 722 8:41:22 PM
whiteboi202 | randoma237 | Cutie Text 9/18/2023
7512 722 8:41:58 PM
randoma237 | whiteboi202 | Will u trib her Text 9/18/2023
22 7512 8:42:49 PM
whiteboi202 | randoma237 | Yes! Anymore? | Text 9/18/2023
7512 722 8:43:35 PM
randoma237 | whiteboi202 | Only that one Text 9/18/2023
722 7912 pic it was from 8:44:10 PM
her tiktok
whiteboi202 | randoma237 | She's got meso | Text 9/18/2023
7512 722 hard 8:44:11 PM
randoma237 | whiteboi202 | Ik sameeee Text 9/18/2023
722 7512 8:44:23 PM

35. I was not able to view any media associated with this conversation. I know
from previous child exploitation investigations that when “randoma23722” is asking
“whiteboi2027512” if he will “trib” to the image that he means masturbate to the
image. “Trib” is short for “tribute” or “tribute material.” In most cases, this means
that the person receiving the image or video will masturbate to it, and then send an

image or video to the sender of themselves in or completing the act of masturbation.

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36. I was able to determine that the “whiteboi2027512” account was native to
LEE’s Samsung $21 FE 5G, IMEI: 350799511581772. The “whiteboi2027512”
username is similar to the current Kik username ‘Brokenbnwowhiteboi.’

New Device Seized

37.On February 29, 2024, an arrest warrant was issued based on a criminal
complaint for LEE for the following offenses: 18 U.S.C. §§ 2251(d)(1)(A) & 2251(e) —
Notice or Advertisement Seeking Child Pornography; 18 U.S.C. §§ 2252(a)(2) and
(b)(1) — Receipt and Distribution of Child Pornography; and 18 U.S.C. §§ 1151,
1153, and 2252(a)(4)(A) and (b)(2) — Possession of Child Pornography in Indian
Country. The arrest warrant was granted by U.S. Magistrate Judge Susan E.

Huntsman in the Northern District of Oklahoma.

38. I sought the assistance of the U.S. Marshal’s Northern Oklahoma Violent
Crimes Task Force (USMS-NOVCTEF) in placing LEE into custody. The USMS-
NOVCTF arrested LEE without incident on February 29, 2024, at his employer,

Five Guys restaurant, at 9635 Riverside Parkway, Tulsa, Oklahoma.

39.When LEE was taken into custody, he had personal property, including a
Samsung Galaxy $21 FE 5G. This property was left at LEE’s employer after he was
arrested. Audrey Steinberg, LEE’s girlfriend, was at a nearby retail store when the
arrest happened. I notified Georgia Steinberg, Audrey Steinberg’s mother, of the

arrest so that she could assist Audrey in getting home, as Audrey does not drive.
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Georgia and Audrey retrieved LEE’s personal property, including his phone, from

LEE’s employer.

40.On March 5, 2024, Georgia Steinberg informed me that she had looked at
LEE’s phone and found pornography and records indicating LEE had been sending
money to girls. Georgia stated that she did not see any nude images of children,
although some of the images she was not able to tell the age of the person. I advised
Georgia to stop looking at the device and that I would take custody of the phone and

seek a search warrant to view the contents.

41.On March 6, 2024, HSI Task Force Officer (TFO) Don Stach and I met with
Georgia and Audrey Steinberg at their residence in Tulsa. Georgia turned over the
device to me. On March 14, 2024, a search warrant for this new device was granted
by the Honorable Jodi F. Jayne, U.S. Magistrate Judge in the Northern District of

Oklahoma.

42. After reviewing data on the device, I located multiple files of child
pornography, including at least one image depicting the anal sodomy of an infant.
Each of the flagged child pornography images were overlaid with text indicating that
a user was selling child pornography and interested parties could contact him
through various means listed to purchase the material. I also located numerous files

of child exploitive and age-difficult material.

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43. While manually reviewing the phone, I located two Kik conversations
between usernames ‘Brokenbnwowhiteboi’ and ‘Ohboyyyyy21,’ and
‘Brokenbnwowhiteboi’ and ‘Knockershop.’ I was able to determine that username
‘Brokenbnwowhiteboi’ was the username associated with LEE’s device. The email
address associated with this account is lewrachel747@gmail.com, which I also know
to be associated with LEE through this investigation. These chats referenced children
in a sexually explicit manner. I took pictures of the Kik chats on the device, and they
are displayed below and on the following pages. I redacted a nude image of Audrey
Steinberg and a clothed minor female, to protect her identity. In both chats outline

below, LEE’s statements are in the blue bubbles with white letters.
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44. The minor female pictured in the chat was identified as LEE’s 13-year-old
sister. On March 19, 2024, I spoke with the LEE’s father by phone. He confirmed
that LEE has not had recent access to his sister. It appears that LEE may have used
an older photograph of his sister in this chat, as she appears to have been between 7-9

years old in the image.

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45.In this chat, LEE and the other subject discuss ejaculating on the minor
female’s braces and her toothbrush, and putting LEE’s penis into the minor’s

underwear.

46.The second Kik chat located is similar in nature to the first. Photos are
exchanged of a female and LEE and another subject discuss her age and LEE

discusses wanting to cum on her face. See below for an excerpt of the chat::

LEE I would love to see her
knockershop (photo of a clothed young female sent)
LEE Mmm level with me. How old is she?

knockershop 20s now
15 in the first ones
17 here

LEE She’s sexy

knockershop (several images of the girl are sent)
Glad you like her
Tell me everything

LEE I want to cum on her face in the first
pic
I love her smile and great tits

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47. Based on these chats, it is probable that the SUBJECT ACCOUNTS contain

evidence of the sexual exploitation of children.

48.In reviewing LEE’s Kik account, I observed that the application on the device
was ‘Blue Kik.’ I was unfamiliar with this version of Kik and conducted open-source
research on it. According to www.medium.com, “Blue Kik is a modified version of
Kik that “helps” improve the usability of the platform, but what most don’t know is a
lot of the reasons the platform is unusable is due to this mod. This mod provides
users with exploitative ways to blackmail and harass users. This includes making

your accounts unusable and being able to join Kik Live streams after being banned.”

49. Kik, on their website, cites the dangers of third-party modified versions of Kik:
“Kik takes the safety of our users very seriously. However, please understand that if
you choose to download any modified, third-party versions of the Kik app, we
cannot ensure your safety as a user. When you download a modified, third-party
version of the Kik app (a.k.a. modded Kik) you are not only violating our Terms of
Service but you may also be putting yourself, your privacy and your information at

risk.”

50. The dates requested for the search warrant are November 16, 2023, the day of
the search warrant at LEE’s residence when his original devices were seized, through

February 29, 2024, the day of LEE’s arrest.

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Background on Kik and MediaLab.ai, Inc.

50. Kik is owned and operated by MediaLab.ai, Inc., a holding company of
consumer internet brands, offering messaging applications, online education platform,
and various applications for users headquartered in Santa Monica, California. Kik
advertises itself as “the first smartphone messenger with a built-in browser.” Kik
Messenger allows users to “talk to your friends and browse and share any web site
with your friends on Kik.” According to their website, Kik Messenger, a free service
easily downloaded from the Internet, has become the simplest, fastest, most life-like
chat experience you can get on a smartphone. Unlike other messengers, Kik usernames
- not phone numbers - are the basis for Kik user accounts, so Kik users are in complete
control of with whom they communicate. In addition, Kik users can exchange images,
videos, sketches, stickers and even more with mobile web pages.

51. The Kik app is available for download via the App Store for most iOS devices
such as iPhones and iPads and is available on the Google PlayStore for Android
devices. Kik can be used on multiple mobile devices, to include cellular phones and
tablets.

52. In general, providers like Kik ask their subscribers to provide certain personal
identifying information when registering for an account. This information can include
the subscriber’s full name, physical address, and other identifiers such as an e-mail
address. However, Kik does not verify that information. Kik also retains certain
transactional information about the creation and use of each account on their systems,

including the date on which the account was created, the length of service, records of

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log-in (i.e., session) times and durations, the types of service utilized, the status of the
account (including whether the account is inactive or closed), the methods used to
connect to the account, and other log files that reflect usage of the account.

53. Kik offers users the ability to create an identity within the app referred to as a
“username.” This username is unique to the account and cannot be changed. No one
else can utilize the same username. A Kik user would have to create a new account in
order to obtain a different username. The username for a particular Kik account holder
is generally displayed in their Kik profile.

54. Given the ability for users to create multiple accounts that are not linked to a
specific mobile device (i.e. a phone number), it has become a popular app used by
people involved in the collection, receipt, and distribution of child pornography.

55. In my training and experience, an application user’s IP log, stored electronic
communications, and other data retained by the provider, can indicate who has used
or controlled the application account. This “user attribution” evidence is analogous to
the search for “indicia of occupancy” while executing a search warrant at a residence.
For example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may
be evidence of who used or controlled the Kik account at a relevant time. Further, Kik
account activity can show how and when the account was accessed or used. For
example, as described herein, Kik logs the Internet Protocol (IP) addresses from which
users access their accounts along with the time and date. By determining the physical

location associated with the logged IP addresses, investigators can understand the

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chronological and geographic context of the account access and use relating to the
crime under investigation. Such information allows investigators to understand the
geographic and chronological context of Kik access, use, and events relating to the
crime under investigation. Additionally, Kik account activity may provide relevant
insight into the Kik account owner’s state of mind as it relates to the offense under
investigation. For example, information on the Kik account may indicate the owner’s
motive and intent to commit a crime (e.g., information indicating a plan to commit a
crime), or consciousness of guilt (e.g., deleting account information in an effort to
conceal evidence from law enforcement).

56. Therefore, the computers and systems of Kik, owned and operated by
MediaLab.ai, Inc., are likely to contain all the material described above, including
stored electronic communications and information concerning subscribers and their
use of Kik, such as account access information, transaction information, and other
account information.

Characteristics Common to Individuals Who Exhibit a Sexual Interest in
Children

57. Based on my previous investigative experience related to child exploitation
investigations, and the training and experience of other law enforcement officers with
whom I have had discussions, I know there are certain characteristics common to
individuals who exhibit a sexual interest in children, and who distribute, receive,

possess, and/or access with intent to view child pornography:

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i. Such individuals may receive sexual gratification, stimulation, and
satisfaction from contact with children, or from fantasies they may have
viewing children engaged in sexual activity or in sexually suggestive
poses, such as in person, in photographs, or other visual media, or from
literature describing such activity;

ii. Such individuals may collect sexually explicit or suggestive materials in
a variety of media, including photographs, magazines, motion pictures,
videotapes, books, slides and/or drawings or other visual media.
Individuals who have a sexual interest in children or images of children
oftentimes use these materials for their own sexual arousal and
gratification. Further, they may use these materials to lower the
inhibitions of children they are attempting to seduce, to arouse the
selected child partner, or to demonstrate the desired sexual acts;

ili. Such individuals almost always possess and maintain digital or electronic
files of child pornographic material, that is, their pictures, videos,
photographs, correspondence, mailing lists, etc., in the privacy and
security of their home or some other secure location. Individuals who
have a sexual interest in children or images of children typically retain
pictures, videos, photographs, correspondence, and mailing lists for
many years;

iv. Likewise, such individuals often maintain their child pornography
images in a digital or electronic format in a safe, secure and private
environment, such as a computer and surrounding area. These child
pornography images are often maintained for several years and are kept
close by, usually at the possessor’s residence, inside the possessor’s
vehicle, or, on their person, to enable the individual to view the child
pornography images, which are valued highly. Such individuals do not
like to be away from their child pornography images for an extended
period of time. Some of these individuals also have been found to
download, view, and then delete child pornography on their computers
or digital devices on a cyclical and repetitive basis;

v. Based on my training and experience and speaking with other special
agents, I know that such individuals have taken their electronic devices
and storage media, which contain their collections of child pornography,
with them when they have moved or changed residences;

vi. Such individuals may also take it upon themselves to create their own
child pornography or child erotica images, videos or other recordings, or
engage in contact sex offenses with children. These images, videos or

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other recordings may be taken or recorded covertly, such as with a
hidden camera in a bathroom, or the individual may have child victims
he or she is abusing in order to produce child pornographic or child
erotica images, videos or other recordings. Studies have shown there is a
high cooccurrence between those who traffic in child pornography and
commit sex offenses with children. Such individuals may also attempt to
persuade, induce, entice, or coerce child victims in person or via
communication devices to selfproduce and send them child
pornography or to meet in person for sex acts. These images, videos or
other recordings are often collected, traded, or shared; and

vii. Such individuals also may correspond with and/or meet others to share
information and materials, rarely destroy correspondence from other
child pornography distributors/possessors, conceal such correspondence
as they do their sexually explicit material, and often maintain lists of
names, addresses, and telephone numbers of individuals with whom they

have been in contact and who share the same interests in child
pornography.

Information to be Searched and Things to be Seized
58. I anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by
using the warrant to require MediaLab.ai, Inc. to disclose to the government copies of
the records and other information (including the content of communications)
particularly described in Section I of Attachment B. Upon receipt of the information
described in Section I of Attachment B, government-authorized persons will review

that information to locate the items described in Section II of Attachment B.

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Conclusion

59. Based upon the facts set forth in this affidavit, I believe that there is probable
cause to believe that the location described in Attachment A contains evidence of
violations of Title 18, United States Code, Section 2252 (Certain Activities Relating to
Material Involving the Sexual Exploitation of Children), and Title 18, United States
Code, Section 2422(b) (Coercion or Enticement of a Minor).

60. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is
not required for the service or execution of this warrant. The government will execute
this warrant by serving it on MediaLab.ai, Inc. Because the warrant will be served on
MediaLab.ai, Inc., who will then compile the requested records at a time convenient
to it, reasonable cause exists to permit the execution of the requested warrant at any
time in the day or night.

Respectfully Submitted,

DRE?

Dustin Carder
Special Agent
Homeland Security Investigations

Subscribed and sworn by phone on March _21__, 2024

Qe & Gere
JODIF. JAYNE
UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A
Property to be Searched

This warrant applies to information associated with the account associated with
Kik usernames ‘Brokenbnwowhiteboi,’ ‘Ohboyyyyy21,’ and ‘Knockershop’
(SUBJECT ACCOUNTS), that are stored at premises owned, maintained, controlled,

or operated by MediaLab.ai, Inc., a company headquartered at 1222 6th Street, Santa

Monica, CA 90401.

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ATTACHMENT B

Particular Things to be Seized

I. Information to be disclosed by MediaLab.ai, Inc.

To the extent that the information described in Attachment A is within the
possession, custody, or control of MediaLab.ai, Inc., regardless of whether such
information is located within or outside of the United States, including any messages,
records, files, logs, or information that have been deleted but are still available to
MediaLab.ai, Inc., or have been preserved pursuant to a request made under 18 U.S.C.
§ 2703(f), MediaLab.ai, Inc. is required to disclose the following information to the
government for each account listed in Attachment A between November 16, 2023,
through February 29, 2024:

(a) All contact and personal identifying information;

(b) All activity logs for the account and all other documents showing the

user’s posts and other Kik activities;

(c) All photos and videos uploaded by the SUBJECT ACCOUNTS and all
photos and videos uploaded by any user that have that user tagged in
them, including Exchangeable Image File (“EXIF”) data and any other
metadata associated with those photos and videos;

(d) All profile information; News Feed information; status updates; videos,
photographs, articles, and other items; Notes; Wall postings; friend lists,

including the friends’ Kik usernames; groups and networks of which the

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user is a member; future and past event postings; rejected “Friend”
requests; comments; gifts; pokes; tags; and information about the user’s
access and use of MediaLab.ai, Inc.’s applications;

(e) All basic subscriber information,

(f)  Allcall detail records,

(g) All detailed message logs,

(h) All content, including but not limited to message content,

(i) ~All records or other information regarding the devices and internet
browsers associated with, or used in connection with, that account,
including the hardware model, operating system version, unique device
identifiers, mobile network information, and user agent string;

(j) All other records and contents of communications and messages made
or received by the user, including all Messenger activity, messages, chat
history, video and voice calling history, and pending “Friend” requests;

(k) — All “check ins” and other location information;

(1) All IP logs, including all records of the IP addresses that logged into the
account;

(m) All past and present lists of friends created by the account;

(n) All records of Kik searches performed by the account;

(0) The types of service utilized by the user;

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(p) The length of service (including start date) and the means and source of
any payments associated with the service (including any credit card or
bank account number);

(q) All privacy settings and other account settings, including privacy settings
for individual Kik posts and activities, and all records showing which Kik
users have been blocked by the account;

(r) All records pertaining to communications between MediaLab.ai, Inc.
and any person regarding the user or the user’s Kik account, including

contacts with support services and records of actions taken.

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IL Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence, and
instrumentalities of violations of 18 U.S.C. §§ 2252 for the SUBJECT ACCOUNTS, listed
on Attachment A, including:

(a) Images of child pornography; files containing images and data of any type
relating to the sexual exploitation of minors, and material related to the
possession or production thereof, as defined in 18 U.S.C. § 2252;

(b) Information, correspondence, records, documents, or other materials
pertaining to the possession, receipt, or distribution of visual depictions of
minors engaged in sexually explicit conduct, as defined in 18 U.S.C. § 2256,
or pertaining to the sexual exploitation of minors;

(c) Communications between the SUBJECT ACCOUNTS and others pertaining
to the receipt, distribution, and/or possession of child pornography from
November 16, 2023, through February 29, 2024;

(d) Evidence indicating how and when the account was accessed or used, to
determine the geographic and chronological context of account access, use,
and events relating to the crime under investigation and to the account owner;

(e) Evidence indicating the account owner’s state of mind as it relates to the
crime under investigation; and

(f) The identity of the person(s) who created or used the SUBJECT
ACCOUNTS, including records that help reveal the whereabouts of such

person(s).

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